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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA                              NO.   3:23-CR-0460-M

v.

COREY WILSON

                  FINDINGS OF FACT AND CONCLUSIONS OF LAW.

                                    Procedural Background

        On January 28, 2025, the grand jury returned a Superseding Indictment charging

Corey Wilson with two counts of possession of an unregistered machinegun, in violation

of 26 U.S.C. §§ 5841, 5845(a)(6) and (b), and 5861(d).         That indictment specifically

alleged that Wilson possessed “a firearm, to wit: a machinegun, as defined in 26 U.S.C.

§ 5845(a)(6) and (b), further described as a machinegun conversion device (sometimes

referred to as a Swift Link)” on or about May 30, 2023, and June 3, 2023.         Wilson

knowingly and voluntarily waived his right to an arraignment hearing and entered a plea

of not guilty.

        Wilson waived his right to trial by jury.     With the government’s consent, this

Court held a bench trial on February 10, 2025.

                                         Findings of Fact

        1.       Beginning in May 2023, agents with the Bureau of Alcohol, Tobacco,

Firearms, and Explosives (ATF) began investigating whether machinegun conversion

devices (MCDs), sometimes known as Swift Links, were being advertised for sale on an

Instagram account operated by Defendant Corey Wilson, 18, under the name



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“Risktakker214.”     On the “Risktakker214” Instagram account, Wilson made posts

including the following:

       a.      A photograph that depicts three parts that appear to resemble MCDs with
               the title “#Art” and the caption “Lmk [let me know] fully Auto (AR
               Only)[-]”
       b.      A video showing one of the MCDs being removed from, and then added
               back into, an AR-style rifle platform. The entire time the video is playing,
               a black box is super-imposed that says “$150[.]”

       c.      A video of someone in a dark room firing an AR-style rifle that is fully
               automatic. The entire time the video is playing, a phrase is super-imposed
               that says “$150 come get rite (Ar only)[.]”

       Wilson is not depicted in any of the posts described above. However, Wilson

posted these items on his account to advertise that the product advertised would make an

AR-style firearm fully automatic at a price of $150 per device.

       2.      On May      18, 2023, ATF undercover agents contacted Wilson via Instagram

to inquire about purchasing some of the parts advertised by Wilson on “Risktakker214.”

They moved the conversation to text messages and Wilson asked the agents whether they

“still need da drop N [drop-in],” a phrase commonly used as slang for a type of MCD.

The agents asked to purchase four MCDs, and Wilson agreed to the sale.

       3.      One week later, Wilson agreed to sell four MCDs to the undercover agents

via text message, writing “4 fa $400 [four for $400]” “2hunnid off [$200 off the total

price].” When agents asked if the parts functioned properly, Wilson replied, “Hy [Hell

yeah] fs [for sure] I got da hoe in mine”—meaning that Wilson had one MCD installed in

his personal firearm and that it functioned as intended.




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        4.       As a result of their conversations, the agents and Wilson agreed to meet

outside the McDonald’s where Wilson worked, on May 30, 2023.              That McDonald’s was

located at 5960 Greenville Avenue, Dallas, Texas, which is in the Dallas Division of the

Northern District of Texas (NDTX).        At that meeting, agents purchased six MCDs for

$300.   Wilson conceded that the MCDs were “bendy,” but assured the agents that the

MCDs would not break. Wilson explained how the MCDs had to be “activated”—

meaning adjusted during installation, and demonstrated how to place one of the parts

inside the receiver of an AR-style firearm to ensure that it was ‘“fully”’—meaning

functioning as a fully automatic firearm.

        5.       The next day, the undercover agents messaged Wilson to tell him that the

devices they had purchased the previous day worked and asked for the price to purchase

20 more of the same devices.      On June 2, 2023, Wilson agreed to sell 20 MCDs        for $850,

as soon as they could be made.

        6.       On June 6, 2023, the undercover agents and Wilson agreed to meet at 9600

Golf Lakes Trail, Dallas, Texas—-which is in the Dallas Division of the NDTX—to

purchase 20 more devices for $850. The agents again told Wilson that the MCDs they

had purchased the week before worked as intended.           Wilson told the agents that these

devices looked different than the previously purchased ones but that they would function

the same way.     The agents purchased 20 more MCDs from Wilson for $850.

        7.       Eleven of the 26 MCDs—six from the May 30 sale and five from the June

6 sale—were sent to the ATF Firearms             & Ammunition Technology Division for a

determination.     That determination concluded that the MCDs were a device sometimes


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referred to as a Swift Link designed for use with an AR-15 semi-automatic’s fire control

parts and an M16 machinegun bolt carrier. Like a “drop in,” a Swift Link is a type of

MCD which is typically, but not always, made from a thin piece of metal in an “s” shape.

The MCD works by pressing down on the disconnector, causing the hammer to go

forward, striking the firing pin; as a result, the AR-type firearm shoots automatically.

These devices are “machineguns” as defined in 26 U.S.C. § 5845(b).           Being

“machineguns,” each are also a “firearm” per the definition in 26 U.S.C. § 5845(a)(6).

       8.       On December 4, 2023, the ATF test fired two of the MCDs purchased from

Wilson, using an ATF owned AR-15.          Specifically, the ATF conducted six test fires with

one of the MCDs purchased on May 30 (charged in Count One) and five test fires with

one of the MCDs purchased on June 6 (charged in Count Two).           The results of the test

fires are as follows:

            Test Round | Exhibit Installed       | Rounds Loaded _| Rounds   Expelled
                  1               1                       2                  1
                  2               1                       2                   1
                  3               1                       2                  1
                  4               i                       3                  2
                  5               j                       3                  2
                  6              7                        5                  3
                  7              7                        2                   1
                  8              7                        2                   1
                  9              7                        4                  2
                 10              7                        2                  2
                 ll              7                        3                  3

       9.       At least twice for each of the two MCDs tested, the AR-15 fired multiple

rounds. None of the MCDs that Wilson sold to the ATF had any serial numbers or were




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registered in the National Firearms Registration and Transfer Record.        Wilson did not

register any of the MCDs in the National Firearms Registration and Transfer Record.

                                            Conclusions of Law

Essential Elements of the Offense

        1.     To prove the offenses alleged in Counts One and Two of the Superseding

Indictment, charging violations of the National Firearms Act, 26 U.S.C. §§ 5841,

5845(a)(6) and (b), and 5861(d), that is, possession of an unregistered machinegun, the

government must prove each of the following beyond a reasonable doubt:

               First:          That the defendant knowingly possessed a firearm;

                Second:        That this firearm was a machinegun as defined in 26 U.S.C.
                               § 5845(b);

               Third:          That the defendant knew of the characteristics of the firearm
                               that caused it to be a machinegun;

               Fourth:         That this firearm was or could readily have been put in
                               operating condition; and

               Fifth:          That this firearm was not registered to the defendant in the
                               National Firearms Registration and Transfer Record. It does
                               not matter whether the defendant knew that the firearm was
                               not registered or had to be registered.

        2.     The term “firearm” means “a machinegun.”           26 U.S.C. § 5845(a)(6).

        3.      The term “machinegun” means “any weapon which shoots, is designed to

shoot, or can be readily restored to shoot, automatically more than one shot, without

manual reloading, by a single function of the trigger. The term shall also include the

frame or receiver of any such weapon, any part designed and intended solely and

exclusively, or combination of parts designed and intended, for use in converting a



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weapon into a machinegun, and any combination of parts from which a machinegun can

be assembled if such parts are in the possession or under the control of a person.” 26

US.C. § 5845(b).

         4.    It is only necessary for the government to prove that the defendant knew

that the item he possessed had the characteristics that brought it within the statutory

definition of a firearm, not that the defendant knew his possession was unlawful or that

the firearm was unregistered. Rogers v. United States, 522 U.S. 252, 254-55 (1998)

(plurality opinion) (citing Staples v. United States, 511 U.S. 600 (1994); United States v.

Freed, 401 U.S. 601 (1971)); see also United States v. Kay, 513 F.3d 432, 448 (5th Cir.

2007).

         5.    “TT)gnorance of the law’ (or a ‘mistake of law’) is no excuse... where a

defendant has the requisite mental state in respect to the elements of the crime but claims

to be unaware of the existence of a statute proscribing his conduct.” Rehaifv. United

States, 588 U.S. 225, 234 (2019).

         6.    Here, the government proved Wilson knew the MCDs he sold to the ATF

on May 30 and June 6 were designed and intended solely and exclusively for use in

converting a weapon into a machinegun.

         7.    The Superseding Indictment alleged “{o]n or about June 3, 2023,” as the

date associated with the meeting between the ATF agents and Wilson underpinning

Count Two.    The evidence at trial and the parties’ stipulation, however, established that

that meeting took place on June 6, 2023.         “If an indictment uses the term ‘on or about’ to

allege a date, the government is ‘not required to prove the exact date; it suffices if a date


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reasonably near is established.’”     United States v. Knowlton, 993 F.3d 354, 359 (Sth Cir.

2021) (quoting United States v. Valdez, 453 F.3d 252, 260 (5th Cir. 2006)). See also

United States v. Grapp, 653 F.2d 189, 195 (Sth Cir. 1981) (citing Russell v. United States,

429 F.2d 237, 238 (Sth Cir. 1970)).      June 6, 2023, is reasonably near to June 3, 2023.    See

Knowlton, 993 F.3d at 359 (compiling cases establishing that the Fifth Circuit has

“previously found that temporal variances of up to twelve months were not material”);

United States v. Leibowitz, 857 F.2d 373, 379 (7th Cir. 1988) (finding that September 21

and October 12 were “reasonably close, particularly given the ‘on or about’

designation”).

        8.       For a machinegun, the central characteristic that causes it to be a

machinegun is whether it will “automatically [shoot] more than one shot, without manual

reloading, by a single function of the trigger.” 26 U.S.C. § 5845(b).      The size of the

device and number of bends in its components are irrelevant as long as the component is

otherwise designed and intended solely and exclusively to convert a weapon into a

machinegun.      The MCDs Wilson sold were designed and intended solely and exclusively

to convert a weapon into a machinegun.

       9.        Machineguns do not have to be of high quality to be machineguns.

Whether a device is a machinegun hinges upon whether it was “designed to shoot...

automatically,” not on whether it, in fact, effectively shoots as designed.    See United

States v. Husain, 117 F. App’x 353, 354 (Sth Cir. 2004). A weapon does not cease to be

a machinegun simply because it malfunctions.        United States v. Olofson, 563 F.3d 652,

658 (7th Cir. 2009).    Indeed, even an inoperable machinegun that requires restoration


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using rare parts or a highly skilled mechanic meets the statutory definition of a

machinegun.     See United States v. Kindred, 931 F.2d 609, 610 (9th Cir. 1991).

         10.    Here, the MCDs Wilson sold were designed to press down on the

disconnector of an AR-15 rifle preventing it from catching the hammer and allowing the

firearm to cycle automatically.     Therefore, the unregistered MCDs were designed and

intended solely and exclusively for use in converting a weapon into a machinegun.

         11.    Additionally, although the government was not required to prove that the

MCDs worked as designed, the evidence showed that they did in certain instances. As

noted above, on multiple occasions, rifles fitted with some of Wilson’s MCDs fired more

than one shot, without manual reloading, by a single function of the trigger. The Court

would have found Wilson guilty of the offenses charged even if the MCDs did not work

at the ATF’s test because they were designed and intended to convert an AR-15 into a

fully automatic weapon.

The National Firearms Act is not unconstitutionally vague.

         12.    At trial, Wilson argued that the National Firearms Act is unconstitutionally

vague.    The Court finds that the National Firearms Act is neither vague on its face nor as

applied to the defendant.

         13.    The National Firearms Act is not unconstitutionally vague on its face

because it “give[s] ordinary people fair notice of the conduct it punishes.” Johnson y.

United States, 576 U.S. 591, 595 (2015). A criminal statute is not unconstitutionally

vague if it defines “the criminal offense with sufficient definiteness that ordinary people

can understand what conduct is prohibited and in a manner that does not encourage


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arbitrary and discriminatory enforcement.”       Kolender v. Lawson, 461 U.S. 352, 357

(1983). There is a strong presumption supporting the constitutionality of legislation. See

United States v. Nat’l Dairy Prods. Corp., 372 U.S. 29, 32 (1963).

        14.    An ordinary person would understand that the National Firearms Act

criminalizes the possession (without registration) of the devices at issue here. The

statutory language is clear and unambiguous, defining a machinegun as, among other

things, “any part designed and intended solely and exclusively, or combination of parts

designed and intended, for use in converting a weapon into a machinegun.”        The plain

language of the statute provides fair notice of the proscribed conduct.   Indeed, the Fifth

Circuit has rejected a vagueness argument to materially identical statutory language.        In

United States v. Campbell, the Court examined the phrase “any combination of parts

designed and intended for use in converting a weapon into a machine gun.” 427 F.2d

892, 893 (5th Cir. 1970).    In Campbell, the court rejected the appellant’s argument that

the language was “not sufficiently clear to put any person of reasonable intelligence on

notice as to what is forbidden.” Jd.

        15.    The statute is also not unconstitutionally vague as it applies to Wilson.     Any

ordinary person would understand that advertising the sale of devices designed to convert

a semiautomatic firearm into a fully automatic firearm would violate the law.

        16.    Attrial, Wilson suggested that the Superseding Indictment’s use of the

phrase “Swift Link” failed to put him on notice of the charged conduct.     Yet, Wilson

waived any challenge to the indictment by failing to raise it in a pretrial motion.   See Fed.

R. Crim. P. 12(b)(3)(B); United States v. Whitfield, 590 F.3d 325, 359 (Sth Cir. 2009).

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Further, the Superseding Indictment—which tracked the relevant statutory language and

charged the defendant with possessing “a machinegun conversion device (sometimes

referred to as a Swift Link)’—provided adequate notice of the charges. Instead of

focusing on whether the government proved that the devices would convert an AR-style

firearm into a fully automatic machinegun as defined by statute, Wilson focused on the

materials used to create, and different bends and measurements of, a subtype of MCDs.

However, the materials, bends, and measurements do not change the fact that the devices

sold by Wilson were designed and intended to convert a semiautomatic firearm into a

machinegun.     The statute is not unconstitutionally vague, and thus the Court rejects

Wilson’s constitutional challenge.

                                                Conclusion

        The Court finds that the government has proven beyond a reasonable doubt each

 of the elements of the violations of the National Firearms Act, 26 U.S.C. §§ 5841,

 5845(a)(6) and (b), and 5861(d), that is, possession of an unregistered machinegun on or

 about May 30, 2023, and June 3, 2023, within the Dallas Division of the Northern

 District of Texas, namely:

                1.      That the defendant knowingly possessed a firearm;

                2.      That this firearm was a machinegun as defined in 26 U.S.C.
                        § 5845(b);

                3,      That the defendant knew of the characteristics of the firearm that
                        caused it to be a machinegun;

                4.      That this firearm was or could readily have been put in operating
                        condition; and




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               5.      That this firearm was not registered to the defendant in the National
                       Firearms Registration and Transfer Record. It does not matter
                       whether the defendant knew that the firearm was not registered or
                       had to be registered.

       Accordingly, the Court hereby finds the defendant guilty beyond a reasonable

doubt of the crimes charged in Counts One and Two of the Superseding Indictment.



        SO ORDERED.

       March 27, 2025.                                         SE                 WA,

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                                                  BABBARA M. G. ifn         > C
                                                           TOR UNITED STATES DISTRICT JUDGE




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